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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  JANIS HARRISON,                                  §
                                                   §
                                                   §
           Plaintiff,                              §
  vs.                                              §      CIVIL ACTION NO. 3:18-cv-3423
                                                   §
  COMPASS GROUP USA, INC., a                       §
  Foreign For-Profit Corporation,                  §
  EUREST SERVICES, INC, a Foreign                  §
  For-Profit Corporation; Mike                     §
  Fucsko, an individual, Garwin                    §
  Freeze, an Individual, and Nicole                §
  Otis, an individual,                             §
                                                   §
          Defendants.                              §
                                                   §

  ___________________________________

                           PLAINTIFF’S ORIGINAL COMPLAINT



TO THE HONORABLE UNITED STATES DISTRICT COURT:

COMES NOW Plaintiff, Janis Harrison (“Plaintiff”), filing her Original Complaint complaining of

Compass Group, Inc., a Foreign For-Profit Corporation (“Compass”), Eurest Services, Inc., a

Foreign For-Profit Corporation (“Eurest”), Mike Fucsko, an individual, Garwin Freeze, an

Individual, and Nicole Otis, an Individual, Defendants, and in support thereof would show the

Court as follows:

                                                  I.

                           JURISDICTION, PARTIES AND VENUE

1. This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §§ 1331 and

   1367(a). The action arises under, and is brought pursuant to, the Constitution and laws of the United


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   States. The causes of action alleged by Plaintiff are brought pursuant to 29 U.S.C. §§2601, et. seq.

   known as the Family and Medical Leave Act ("FMLA") and both wrongful interference and anti-

   retaliation prohibitions contained within said statutes and laws, including the regulations

   promulgated thereunder.

2. Plaintiff resides in the City of Dallas, Dallas County, Texas. Plaintiff is an adult female citizen

   of the United States and was at all relevant times herein entitled to the benefits of, and the

   protections afforded by, the FMLA. Plaintiff was at all relevant times herein an “an “eligible

   employee” of a covered employer within the meaning of 29 U.S.C. § 2611(2)(A).

3. Compass is a foodservice and support service company comprised of a group of companies that

   serve restaurants, corporate cafes, hospitals, schools, arenas and museums. Compass is

   registered to do business in the State of Texas as a Foreign For-Profit Corporation, engaging in

   an industry affecting commerce.

4. Compass’s primary local business location is in Dallas County, Texas. All Plaintiff’s principal

   employment activities and all acts complained of herein occurred in Dallas County, Texas.

   Compass was always herein an “employer” within the meaning of, and covered by, the

   applicable statutes, to wit: Pursuant to 29 U.S.C. § 2611(4)(A) at all relevant times herein

   Compass employed 50 or more employees for each working day during each of the 20 or more

   calendar workweeks in the current or preceding calendar year.

5. Compass may be served through its officially registered agent, Corporation Service Company

   d.b.a. CSC-Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin,

   Texas 78701-3136.

6. Eurest. a division of Compass, is a facilities service company providing a range of self-

   performed and managed services, including dining services to companies in various business


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   and industry markets.

7. Eurest’s primary local business location is in Dallas County, Texas. All Plaintiff’s principal

   employment activities and all acts complained of herein occurred in Dallas County, Texas.

   Eurest was always herein an “employer” within the meaning of, and covered by, the applicable

   statutes, to wit: Pursuant to 29 U.S.C. § 2611(4)(A) at all relevant times herein Eurest

   employed 50 or more employees for each working day during each of the 20 or more calendar

   workweeks in the current or preceding calendar year.

8. Eurest may be served through its officially registered agent, Corporation Service Company

   d.b.a. CSC-Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin,

   Texas 78701-3136.

9. Garwin Freeze, an individual, is and was always as hereafter alleged, a managerial employee

   of Compass/Eurest. At one time, as hereinafter alleged, Garwin Freeze was Plaintiff’s direct

   supervisor. For the remainder of Plaintiff’s employment with Compass/Eurest, as hereinafter

   alleged, Garwin Freeze was Regional Manager over Plaintiff and direct supervisor of Mike

   Fucsko. Garwin Freeze is a citizen, domiciled at and resident of the City of Prosper, County

   of Collin, State of Texas USA.

10. Garwin Freeze may be served with process at his residence which is 660 Willowview Drive,

   Prosper, Texas, 75078.

11. Mike Fucsko, an individual, is and was always as hereafter alleged, a managerial employee of

   Compass/Eurest. At the times as hereafter alleged, Mike Fucsko was the direct supervisor of

   Plaintiff and reported to Garwin Freeze, Compass/Eurest’s Regional Manager. Mike Fucsko is

   a citizen, domiciled at and resident of the City of Allen, County of Collin, State of Texas USA.

12. Mike Fucsko may be served with process at his residence which is 1205 Windgate Way, Allen,



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    Texas 75002.

13. Nicole Otis, an individual, is and was always as hereafter alleged, a managerial employee of

    Compass/Eurest and served as its Human Resources Director. Nicole Otis was authorized by

    Compass/Eurest to manage Plaintiff’s compensation, assigned titles, assignments and ensuring

    Compass/Eurest complied with the provisions of FMLA. Nicole Otis is believed to be a resident

    of Charlotte, NC.

14. Nicole Otis may be served with process at her principal place of employment which is 2400

    Yorkmont Rd, Charlotte, NC 28217.

15. The employment practices alleged to be unlawful herein and a substantial part of the events or

    omissions giving rise to Plaintiff’s claims were committed within the Northern District of

    Texas, Dallas Division. Venue is appropriate in this Court pursuant 28 U.S.C. §1391.

                                       II.
                    VICARIOUS LIABILITY—RESPONDEAT SUPERIOR

16. Whenever in this Complaint it is alleged that Compass and/or Eurest did any act or thing, it is meant

    that Compass’s and/or Eurest’s supervisors, agents, servants, employees or representatives did such

    an act and/or that at that time such act was done, it was done with the full authorization or ratification

    of the Compass and/or Eurest or was done in the normal and routine course and scope of

    employment of Compass’s and/or Eurest’s respective supervisors, agents, servants, employees, or

    representatives. Specifically, the acts of Compass and/or Eurest described hereafter, were

    undertaken by then authorized representatives of the Compass and/or Eurest, including but not

    limited to the following individuals: Garwin Freeze, Mike Fucsko and Nicole Otis and were

    performed while in the employment of Company, to further Company's business, to accomplish

    the objective for which these supervisory and administrative employees were hired, and within the

    course and scope of that employment or within the authority delegated to these employees. Garwin

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   Freeze and Mike Fucsko were each given supervisory authority over Plaintiff. As such, Garwin

   Freeze and especially Mike Fucsko were given complete day-to-day control over the work

   conditions, duties, and all other aspects of Plaintiff's employment. Nicole Otis was

   Compass/Eurest’s Human Resources Director and had authority from Compass/Eurest to find and

   offer Plaintiff equivalent employment positions within Compass/Eurest and was a close, critical

   and influential to Compass/Eurest and its managers regarding all employment, classification and

   employment decisions made by Compass/Eurest regarding Plaintiff as hereafter described. But

   for the assent of Nicole Otis, Compass/Eurest would not have made the unlawful decisions it made

   as hereinafter alleged.

                                               III.

                                 FACTUAL BACKGROUND

17. On May 10, 2008, Compass/Eurest employed Plaintiff initially as a Conference Room Manager

   to work at, what is now called, Ross Tower in Downtown Dallas, Texas. Eurest was hired by

   its client, CBRE, to open five points of service at Ross Tower. Plaintiff was part of that team.

   Her supervisor was Garwin Freeze.

18. Prior to her employment with Compass/Eurest, Plaintiff had sixteen years’ experience in food

   services and facilities management.

19. Plaintiff resided in East Dallas which was an approximate easy 15-20-minute drive to Ross

   Tower.

20. Within the first year of her employment, Compass/Eurest tasked Plaintiff with additional

   functions and responsibilities typical of those of a Eurest’s Café Store Manager position.

21. Soon thereafter, Compass/Eurest tasked Plaintiff with the functions and responsibilities typical

   of those of a Eurest’s Catering Manager position for the onsite facility at Ross Tower known



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   as the Forty-Five Oaks Café (“Café”).

22. In 2011, the Café, which Plaintiff managed, became a “host” kitchen to Eurest’s new account,

   then called Covance, a clinical research enterprise. Being a “host” kitchen to Covance,

   involved the additional responsibility of the Café’s preparing and delivering food services,

   three times daily, seven days a week from the Café to Covance, as Covance did not want food

   prepared onsite. Covance’s facility was located about a 10-minute drive from Ross Tower.

23. Compass/Eurest soon found its new venture with Covance to be high-volume and quite

   profitable. Garwin Freeze then assigned Plaintiff the functions and responsibilities to manage

   this new venture. This assignment and its attendant duties and responsibilities were exclusive.

   All other responsibilities assigned to Plaintiff were lifted.

24. Because these new functions and responsibilities did not fit any previous Compass/Eurest

   models, Compass/Eurest assigned Plaintiff the job title of Director of Dining. Garwin Freeze

   told Plaintiff that, to him, Plaintiff’s pay grade was more important than the title, so

   accordingly, Garwin Freeze made Plaintiff a “Director” rather than that of the lower pay grade

   of “Chef Manager.” Even so, Plaintiff’s job duties matched an approximate combination of

   Dining Services Director and Chef Manager which included the following.

   a. Plaintiff was responsible for overseeing the day-to-day operations of the assigned corporate

       dining account. She managed and lead a team of Compass/Eurest associates also assigned

       by Compass/Eurest to this account. Plaintiff was responsible for managing client relations

       and ensuring that the food and services offered was of superior quality. In addition, Plaintiff

       was responsible for

   b. Maintaining customer, guest and client relationships as well as other Compass/Eurest

       departments;



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   c. Work with the Chef and management team in creating menus and providing top quality

       food services. In Plaintiff’s case, she also had responsibilities for full culinary management

       of food service operations, the same as that of a Compass/Eurest Chef Manager;

   d. Creation, maintenance and overseeing all P&L and budgeting functions as the same pertains

       to the account;

   e. Develop and roll out new culinary programs in conjunction with Compass/Eurest marketing

       and culinary teams, controlling purchase and inventory costs focusing on sourcing and

       utilizing local food products.

   In short, Plaintiff was responsible for performing all the duties and responsibilities of a

   Compass/Eurest Dining Services Director and she was responsible for cooking as well.

25. On behalf of Compass/Eurest, Plaintiff managed the Café-Covance venture for approximately

   five years performing the duties and carrying out the responsibilities summarized in Paragraph

   19 above.

26. Mike Fucsko became Plaintiff’s direct supervisor in approximately 2014. Garwin Freeze then

   became Compass/Eurest’s Regional Manager to whom Mike Fucsko reported. Nicole Otis was

   Human Resources Director for Compass/Eurest.

27. Effective December 31, 2016, Covance ended its relationship with Compass/Eurest.

28. Prior to the ending of the Covance relationship, Plaintiff was diagnosed with adenomyosis, a

   medical condition which involved, among other things, chronic anemia. Plaintiff’s medical care

   provider permitted management of Plaintiff’s condition by prescription but advised Plaintiff

   that this was not a long-term solution. Plaintiff’s physician recommended Plaintiff to undergo

   needed and necessary surgery. Plaintiff then briefly delayed the onset of that necessary surgery

   until after the announced Covance account closing to avoid any client relations problems due



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   to Plaintiff’s necessary medical absence.

29. After the December 31 closing, Plaintiff’s job title, responsibilities, duties and compensation

   did not change. Compass/Eurest was then setting up parameters for a new food services project

   for State Farm Insurance which was then located at Galatyn Commons (“Galatyn”) located in

   Richardson, Dallas County, Texas.

30. Compass/Eurest tasked Plaintiff with the same functions and responsibilities for Galatyn as it

   did for the Café-Covance venture. Gatalyn is a large corporate campus featuring five large

   office buildings, conference centers, a full-service cafeteria, multiple dining and meeting areas,

   an outdoor state and amphitheater. Galatyn is an approximate easy 20-25-minute drive from

   Plaintiff’s residence, approximately a 10-15 minute longer drive than that to Covance.

31. Compass/Eurest categorized the locations of its client/customers as either “P&L Accounts” or

   “Subsidized Accounts.” Managers assigned to P&L Accounts were eligible for and received

   bonuses. Managers assigned to Subsidized Accounts were not eligible for and did not receive

   bonuses. Covance And Galatyn were P&L Accounts.

32. As the initial set-up was completed, State Farm Insurance relocated to another facility.

   Fortunately, Gatalyn wished to continue its relationship with Compass/Eurest with Jones Lang

   LaSalle as Compass/Eurest’s client instead of State Farm. Jones Lang LaSalle is a large

   commercial real estate and investment management firm located in Gatalyn.

33. Starting from scratch, Plaintiff worked with Mike Fucsko full-time on the Galatyn project as

   Galatyn’s Dining Services Director and additionally assisted with other job-related tasks, such

   as required asset audits and occasionally covering for another vacationing Dining Service

   Director.

34. Plaintiff and her medical provider planned for Plaintiff’s required surgery to occur on January



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   20, 2017. Plaintiff’s last planned work-day would be two days before, on January 18.

35. During this brief approximate two-week period before Plaintiff’s last planned work-day, Mike

   Fucsko promised Plaintiff that she would be promoted from Dining Services Director at

   Galatyn to the position of General Manager at Galatyn. The promotion involved a

   compensation increase along with increased responsibilities. He praised her for her hard work

   and her commitment to the company. Plaintiff was very encouraged and looking forward to

   returning to the Galatyn project after her surgery.

36. Plaintiff had properly requested FMLA leave from Compass/Eurest. Compass/Eurest approved

   Plaintiff’s FMLA request and granted Plaintiff an approved FMLA Leave of Absence through

   March 5, 2017. Plaintiff also applied for and received for receipt of Short-Term Disability

   income which paid seventy-five percent of Plaintiff’s salary from January 20, 2017 through

   March 3, 2017.

37. Plaintiff’s surgery and recovery were successful.

38. Plaintiff was ready to return to work on March 3, 2017; however, Plaintiff’s medical care

   provider issued a release to return to work without restrictions to be effective the following

   Monday, March 6, 2017.

39. Plaintiff did return to work on March 6, 2017, believing that Plaintiff continued to have the

   same functions and responsibilities of Dining Services Director as described in Paragraph 21

   above, before and continuing her assignment at the Galatyn project.

40. However, Compass/Eurest had other unforeseen and unlawful plans. Instead of Plaintiff’s

   continuing in the Dining Services Director position at Galatyn, Garwin Freeze and Mike Fucsko

   intermittently assigned Plaintiff other non-Dining Service Director tasks seemingly at random

   to other various Compass/Eurest client locations. All these assignments were to Subsidized



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   Accounts – never P&L Accounts which meant Plaintiff was not eligible for and would not

   receive any bonuses.

41. These tasks were not performed previously by Plaintiff as Dining Services Director, but rather

   were routine menial tasks which could have been performed by any hanger-on helper. For

   example, at one assigned Compass/Eurest client location, Plaintiff was tasked by Mike Fucsko

   to spend the time opening boxes and unwrapping new signs and catering bowls. Many of these

   “other” non-Dining Director related menial tasks were assigned for Plaintiff to report to work

   at extended client locations, some in Irving and Plano, Texas which were a hard 45-90-minute

   one-way drive from Plaintiff’s residence. These assignments were twice the distance Plaintiff

   would have traveled to Ross Tower or Galatyn Commons.

42. After her return to work up to the date Defendants terminated her employment, Plaintiff never

   performed any of the duties and responsibilities of her position as described in Paragraph 21

   above.

43. Plaintiff complained about the assignments and these extended drives - one of these randomly

   assigned locations was over a ninety-minute traffic snarled one-way drive.

44. Mike Fucsko avoided replying to her about her complaint and continued the random assigning

   of Plaintiff to routine menial tasks – never those duties and responsibilities of a Dining Services

   Director.

45. On very few occasions, Plaintiff worked on the Galatyn opening checklist from her home. She

   had never done this before.

46. From her return to work date of March 6, 2017 to about March 28, 2017, Plaintiff was not paid

   by Compass/Eurest and as stated herein was assigned only menial tasks she had not previously

   performed.



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47. Plaintiff complained again. Then, on about March 28, 2017, Mike Fucsko notified

   Compass/Eurest apparently for the first time that Plaintiff had returned from her approved leave

   of absence and that she should be paid.

48. At various times during March and April 2017, Mike Fucsko sent requests to Plaintiff to cover

   shifts at other locations. From time to time, Plaintiff, on her own, was asked by and agreed

   with several of her co-worker Dining Service Directors to cover them for their vacations and

   their various absences. Mike Fucsko then rescinded his directions completely and forbade and

   prevented Plaintiff from covering anyone. He would no longer permit it.

49. On about April 4, without any notice or any conversation of any kind, Compass/Eurest, in

   collaboration with Garwin Freeze and Mike Fucsko, demoted Plaintiff from the paygrade

   Director II to the lower paygrade of Director III. Plaintiff’s potential for future income growth

   was adversely affected.

50. Mike Fucsko then hired another individual with the assignment of Dining Services Director for

   Galatyn-the very job Plaintiff was performing before her FMLA leave and the very job she was

   promised and entitled to, on her return from FMLA leave. The new manager hired for Galatyn

   was the boyfriend of Compass/Eurest’s manager in Southlake, Sabre. Instead of adhering to

   and fulfilling FMLA requirements and assigning the position to Plaintiff, Compass/Eurest,

   Garwin Freeze, Mike Fucsko and Nicole Otis engaged in some sort of patronage.

51. Plaintiff sought medical attention for the mental and physical stresses she suffered because of

   Compass/Eurest’s erratic behavior and mistreatment toward her as described above.

52. On about April 10, 2017, Plaintiff was formally informed by Mike Fucsko that she would not

   be reinstated to her previous position.

53. Plaintiff then contacted Mike Fucsko’ s supervisor, Garwin Freeze, now a Regional Vice-



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   President of Compass/Eurest. Plaintiff was then told again that she would not be assigned to

   her previous position and that only temporary non-Dining Director assignments were available.

   Garwin Freeze then asked Plaintiff if she was resigning.

54. Plaintiff then told Garwin Freeze that she was not resigning, that she wanted her job back and

   further said that the continuous erratic uncertainties of unrelated assignments by

   Compass/Eurest led Plaintiff to seek additional medical attention. Garwin Freeze then advised

   Plaintiff to contact Compass/Eurest to request an additional leave of absence. Compass/Eurest

   approved a leave of absence for Plaintiff effective April 21, 2017 through May 9, 2017.

55. Prior to Plaintiff’s contacting Garwin Freeze, Mike Fucsko always seemed to assist Plaintiff

   regarding her FMLA related requests and made it a point to stay in touch with Plaintiff. After

   Plaintiff’s contact with Garwin Freeze, Mike Fucsko literally turned his back on Plaintiff and

   not only ceased providing any assistance to Plaintiff, began to interfere with Plaintiff’s ability

   to do any work at all, much less gain back her position as Dining Services Director.

56. At some point about in mid to late April 2017, Plaintiff’s Compass/Eurest email account was

   interrupted. Plaintiff was sending emails regarding her job-related issues, but the emails were

   not received. Plaintiff did not receive emails from Compass/Eurest. Plaintiff was unaware her

   company email account had been locked out.

57. On about May 8, Plaintiff emailed Mike Fucsko asking where Plaintiff should report to work

   the next day-her return to work day of May 9. Mike Fucsko did not respond.

58. On about May 11, 2017, Plaintiff emailed Mike Fucsko and Garwin Freeze inquiring about

   what positions are open for her. Plaintiff received no response.

59. On about May 15, 2017, Plaintiff emailed Compass/Eurest from her private email account and

   telephoned Compass/Eurest advising about the email interruption and inquiring where and



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   when Plaintiff should report to work.

60. Compass/Eurest told Plaintiff that her recent leave of absence paperwork was not complete.

   Plaintiff resubmitted it the next day.

61. Plaintiff and Compass/Eurest then communicated about open positions, Plaintiff’s status and

   pay. Nicole Otis offered Plaintiff a temporary position as a floater assuming a bench rule

   performing duties and responsibilities as needed. Nicole Otis then then advised Plaintiff that

   Plaintiff should seek other employment elsewhere.

62. On June 7, 2017, Plaintiff inquired of Compass/Eurest if she was still employed and that she

   had received no pay since her return to work date of May 9, 2017.

63. On June 9, 2017, Nicole Otis told Plaintiff that she, Nicole Otis was waiting to hear from

   recruiters about open positions in other companies. Nicole Otis then offered Plaintiff a lesser

   position in another company within the Compass Group which was two lower paygrades and

   an assignment to a client location that was some sixty (60) miles roundtrip from Plaintiff’s

   residence.

64. That same day Nicole Otis notified Plaintiff that since Plaintiff declined that job offer, she

   would be considered to have then resigned and that she would be paid from May 15 through

   May 24, 2017.

65. On June 9, 2017, Compass/Eurest advised Plaintiff that her return to work date was not May 9,

   2017 but rather May 15 and that her resignation was effective May 24. Plaintiff disagreed.

66. On July 3 and July 7, 2017, Plaintiff received two direct payroll deposits from Compass/Eurest.

   On July 10, 2017, Compass/Eurest requested reimbursement from Plaintiff for those two

   deposits stating that Plaintiff’s employment termination was processed incorrectly.

67. At all times during Plaintiff’s employment with Compass/Eurest, Plaintiff received annual



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   raises and favorable reviews.

68. Plaintiff’s complaints about returning to work to her pre-FMLA job position intensified

   management's hostilities towards her.

69. Plaintiff began being singled out for assignments not given to others bearing her same position.

70. Over the course of a few weeks’ time, Plaintiff’s meetings and interactions with management

   personnel became increasingly more hostile. Management’s attitudes toward Plaintiff grew

   even more intensely hostile, rude and insulting.

71. Garwin Freeze, Mike Fucsko and Nicole Otis refused to provide Plaintiff any meaningful

   remedy whatsoever and Nicole Otis even advised Plaintiff to seek employment elsewhere.

72. Compass/Eurest had Plaintiff in a vice grip and would not let go. Garwin Freeze, Mike Fucsko

   and Compass/Eurest willfully and intentionally disregarded Plaintiff’s rights under FMLA and

   each of them retaliated against Plaintiff when she voiced complaints about it.

73. Garwin Freeze, Mike Fucsko and Compass/Eurest persisted in this unlawful conduct until

   Compass/Eurest unilaterally announced Plaintiff had resigned – which Plaintiff later

   discovered was not a resignation but rather wrongfully classified as a termination.

74. What should have been the fulfillment of a chef’s career with a premier dining services

   company was anything but that. It was a nightmare.

                                                    IV.

                                         CAUSES OF ACTION
                    A. VIOLATION OF THE FAMILY MEDICAL LEAVE ACT

            1. INTERFERENCE WITH FMLA RIGHTS UNDER 29 U.S.C. § 2615(a)(1)

75. Plaintiff repeats and re-alleges the allegations contained in the paragraphs above and

   incorporates the same by reference as though fully set forth herein.

76. Plaintiff was, always herein, an eligible employee under the FMLA.

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77. Compass/Eurest was, always herein, an employer as defined in the FMLA.

78. Plaintiff was, always herein, entitled to leave under the FMLA.

79. Plaintiff gave her employer notice of Plaintiff’s intention to take said leave, which her employer

   approved.

80. Plaintiff was denied benefits to which she was entitled under the FMLA.

81. Plaintiff was qualified for, and requested, leave pursuant to the Family and Medical Leave Act

   ("FMLA") from Company.            Company violated Plaintiff's rights under the FMLA by

   interfering with, restraining, and/or denying her the exercise of or the attempt to exercise her

   rights under the FMLA and further, specifically, by retaliating against Plaintiff during

   following a medical leave of absence under the FMLA by not restoring Plaintiff to her pre-

   FMLA job position, wrongfully refusing to pay Plaintiff, wrongfully demoting Plaintiff to a

   lower job classification and wrongfully terminating Plaintiff’s employment.

82. Plaintiff seeks all rights and remedies available to her including but not limited to reinstatement,

   actual and compensatory damages, and exemplary damages.

    2. WRONGFUL DISCRIMINATION AND RETALIATION UNDER 29 U.S.C. § 2615(a)(2)

83. Plaintiff repeats and re-alleges the allegations contained in the paragraphs above and

   incorporates the same by reference as though fully set forth herein.

84. Plaintiff was always herein protected under the FMLA.

85. Plaintiff suffered adverse employment decisions because of Plaintiff’s lawful exercise of a

   leave request under the FMLA.

86. After complaining to management of maltreatment, Plaintiff was subsequently and

   repeatedly harangued, ignored, wrongfully assigned and ultimately terminated by her

   employer, while Plaintiff was on approved FMLA leave and returned as directed, in direct


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   violation of the FMLA.


           3. RETALIATION UNDER THE FAMILY MEDICAL LEAVE ACT.

87. Plaintiff repeats and re-alleges the allegations contained in the paragraphs above and

   incorporates the same by reference as though fully set forth herein.

88. As herein alleged, Plaintiff’s employer illegally retaliated against Plaintiff because she was

   eligible for and requested FMLA leave which was approved by her employer. Further, Plaintiff

   complained of the maltreatment described, which only infuriated the Company to undertake more

   and intense retaliatory acts against Plaintiff. Plaintiff’s employer had no legitimate business

   reasons for any of such acts. Each act of retaliation is in violation of FMLA's anti-retaliation

   provision.

                  B. EMOTIONAL DISTRESS AND SEVERE MENTAL
                     ANGUISH AND COMPENSATORY DAMAGES.

89. Plaintiff repeats and re-alleges the allegations contained in the paragraphs above and

   incorporates the same by reference as though fully set forth herein.

90. As a direct and proximate result of Company's willful, knowing, and intentional

   discrimination and retaliation against her, Plaintiff has suffered and will continue to suffer pain

   and suffering, and extreme and severe mental anguish and emotional distress. Plaintiff is

   thereby entitled to general and compensatory damages in amounts to be proven at trial.

91. The above-described acts on Company's part were undertaken in violation the FMLA and

   proximately caused Plaintiff substantial injuries and damages.




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                                                  V.

                                          JURY DEMAND



92. Plaintiff requests that this action be heard before a jury.

                                                  VI.

                                             DAMAGES


93. The Company's conduct constitutes violations of statutory and/or common law. Such unlawful

   conduct seriously affects Plaintiff in her occupation, trade and business. Because of Company's

   unlawful conduct, Plaintiff has suffered, suffers, and will continue to suffer emotional and mental

   health injuries, humiliation, mental anxiety and stress, and other damages. Plaintiff has suffered

   these direct injuries as a proximate result of the unlawful discriminatory practices, policies and

   procedures of Company.         Accordingly, Plaintiff seeks all general, special, incidental and

   consequential damages in an amount to be proved at trial.

94. Because of Company's unlawful and tortious conduct, it has been necessary for Plaintiff to

   retain the undersigned attorney to represent her in these causes of action Plaintiff has agreed to

   pay her attorney reasonable attorney' s fees for the preparation and trial of these causes, and

   further for any appeal thereof should same become necessary.

95. Additionally, Plaintiff has incurred out-of-pocket expenses, which include litigation costs and

   other expenses to preserve her ability to earn a living. Accordingly, Plaintiff seeks all general,

   special, incidental and consequential damages as shall be proven at trial.

96. Further, Plaintiff seeks pre-judgment interest at a rate commensurate with the actual rate of

   interest in the marketplace or, alternatively, the statutory rate of interest because of the delay in

   receiving the damages and to avoid unjust enrichment to Company. Plaintiff also seeks post-


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   judgment interest at the maximum rate allowed by law if Company does not promptly tender

   damages assessed against them and to avoid unjustly enriching Company.

                                                VII.

                                    PRAYER FOR RELIEF


WHEREFORE, premises considered, Plaintiff prays that the Company be cited to appear and

answer herein, and that on final trial, Plaintiff have judgment against the Company for:

       a.      Permanent injunction enjoining the Company, its agents, successors, employees,

               and those acting in consort with the Company from engaging in any employment

               practice which interferes with or is in retaliation thereof for rights protected under

               the FMLA.

       b.      All damages to which Plaintiff may be entitled pursuant to this Complaint, or any

               amendment(s) thereto, including but not limited to back pay, reinstatement, or front

               pay in lieu of reinstatement, loss of earnings in the past, loss of earning capacity in

               the future, loss of benefits in the past, loss of benefits in the future, and all other

               statutory relief at law, and equity;

       c.      Compensatory damages for pain and mental suffering in the past and future;

       d.      Punitive damages in an amount above the minimum jurisdictional limit of the

               Court;
       e.      Reasonable attorney's fees, with conditional awards in the event of appeal;

       f.      Pre-judgment interest at the highest rate permitted by law;

       g.      Post-judgment interest from the judgment until paid at the highest rate permitted

               by law;

       h.      Costs of court and expert witness fees incurred by Plaintiff in the preparation and


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              prosecution of this action; and

      i.      Such other and further relief, at law or in equity, to which Plaintiff may be entitled,

      whether by this Complaint or by any amendment hereto.



                                                Respectfully submitted,




                                     s/         David M. Curtis

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